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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

JESSE WEISS, Individually and on                   )
Behalf of All Others Similarly Situated,           )
                                                   )       Case No. 0:13-cv-01946-SRN-TNL
                       Plaintiff,                  )
v.                                                 )
                                                   )
DAKOTA GROWERS PASTA CO.,                          )
                                                   )
                       Defendant.                  )


              JOINT NOTICE OF FILING OF SETTLEMENT AGREEMENT

       Defendant Dakota Growers Pasta Company (“Dakota Growers”), and plaintiff Jesse

Weiss, by their undersigned counsel, respectfully submit this Notice of Filing of Settlement

Agreement in Mirakay, et al. v. Dakota Growers, et al., Case No. 3:13-cv-04429-JAP-LHG (D.

Minn.) (“Mirakay”).

       On April 3, 2014, the parties in this action and in Mirakay executed a settlement

agreement (“Settlement Agreement”) that will resolve both nationwide class actions if approved.

On April 14, 2014, plaintiffs in Mirakay filed a Motion for Preliminary Settlement Approval in

the District of New Jersey. Mirakay [D.E. 36]. Pursuant to the terms of the Settlement

Agreement, if it is finally approved, plaintiff will voluntarily dismiss this action with prejudice.

       Pending a decision on the Motion for Preliminary Settlement Approval, the parties

respectfully request that the Court stay the Scheduling Order entered in this case [D.E. 33],

pursuant to which plaintiff is required to file a motion for class certification on May 1, 2014.

The parties will file a status report within ten days of the Mirakay court’s ruling on the Motion

for Preliminary Approval.
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Dated: April 17, 2014               Respectfully submitted,

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